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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


Weifang Tengyi Jewelry Trading                      )
Co., Ltd.                                           )
                                                    )
              Plaintiff,                            )      Case No. 21-cv-551
                                                    )
                  v.                                )      Judge Matthew F. Kennelly
                                                    )
The Partnerships And                                )      Magistrate Judge Susan E. Cox
Unincorporated Associations                         )
Identified On Schedule “A”                          )
                                                    )
            Defendants.                             )


                       AGREED MOTION FOR ENTRY OF
               CONSENT JUDGMENT AND PERMANENT INJUNCTION

       Plaintiff Weifang Tengyi Jewelry Trading Co., Ltd. (“Plaintiff” or “Weifang”) and

Defendants No. 118: SemanticSearchLtd, and No. 16: dealsdirect-ca, having reached an

agreement that would resolve all of the claims at issue in the above-captioned litigation, jointly

move for the entry of the proposed stipulated permanent injunction and order of dismissal

attached as Exhibit One. Defendants SemanticSearchLtd and dealsdirect-ca have indicated their

consent attached as Exhibit Two and Three, respectively.

       Weifang filed this action on January 30, 2021, seeking relief in the form of permanent

injunction and damages relating to Defendants’ activities that constitute trademark infringement

and counterfeiting (15 U.S.C. § 1114), [Id. at ¶¶ 38-44] false designation of origin (15 U.S.C. §

1125(a)), [Id. at ¶¶ 45-48] and violation of the Illinois Uniform Deceptive Trade Practices Act.

(815 ILCS § 510, et. seq.) [Id. at ¶¶ 49-52]. [Doc. 1] On April 26, 2021, Plaintiff moved the




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Court for entry of a temporary restraining order, including a temporary injunction and an asset

restraining order, and for an order permitting Electronic Service of Process Pursuant to Fed. R.

Civ. P. 4(f)(3). [Docs. 21, 22] The Court granted Plaintiff’s motions on April 30, 2021. [Docs. 23,

24] On May 24, 2021, the Court converted the temporary restraining order into a preliminary

injunction. [Doc. 30]

       The parties have been engaged in extensive and productive negotiations, and have now

reached an agreement to settle their dispute. Entry of the proposed stipulated permanent

injunction and order of dismissal will resolve this litigation in its entirety, conserve judicial

resources, and avoid the expense, uncertainty, inconvenience, and other burdens of litigation.

       For all of these reasons, the parties respectfully request that the Court enter the attached

proposed order.

Respectfully submitted this 13th day of October 2021,

                                                     /s/ L. Ford Banister, II
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